     Case 2:20-cv-01871-RFB-NJK Document 14-1 Filed 11/06/20 Page 1 of 2




 1                          INDEX OF EXHIBITS
 2    Exhibit No.                            Name of Document
 3
      Exhibit 1        June 20, 2019 Eighth Judicial District Court Minute Order
 4
      Exhibit 2        Plaintiff’s EEOC Charge of Discrimination
 5
      Exhibit 3        TopGolf’s Motion to Dismiss Plaintiff’s Amended Complaint
 6
      Exhibit 4        Plaintiff’s Right to Sue letter from the EEOC
 7
      Exhibit 5        Plaintiff’s Opposition to TopGolf’s Motion to Dismiss FAC
 8
      Exhibit 6        TopGolf’s Reply in Support of its Motion to Dismiss FAC
 9
      Exhibit 7        Plaintiff’s Motion to File Sur-Reply and Sur-Reply
10
      Exhibit 8        Plaintiff’s Second Amended Complaint
11
      Exhibit 9        NERC Response to TopGolf’s Subpoena
12
      Exhibit 10       Plaintiff’s June 18, 2020 Motion to Amend SAC
13

14    Exhibit 11       September 7, 2020 Order Granting Plaintiff’s June 18, 2020
                       Motion to Amend
15
      Exhibit 12       Plaintiff’s Motion to Enlarge Time to File Third Amended
16
                       Complaint
17
      Exhibit 13       TopGolf’s Opposition to Plaintiff’s Motion to Enlarge Time
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      PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
          Case 2:20-cv-01871-RFB-NJK Document 14-1 Filed 11/06/20 Page 2 of 2




                                    CERTIFICATE OF SERVICE
 1

 2
            I hereby certify that I electronically transmitted the foregoing PLAINTIFF’S
 3
     MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS to the Clerk’s
 4
     Office using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing to
 5
     the following CM/ECF registrants:
 6
     Suzanne Martin
 7
     Erica Chee
 8

 9   Pursuant to FRCP 5(b), I hereby further certify that service of the foregoing was made on

10   November 7, 2020 by depositing a true and correct copy of same for mailing, first-class mail,

11   postage prepaid thereon, at Las Vegas, Nevada, addressed to the following:

12
   Silvino Hinojosa, ID #01722886
13 Clark County Detention Center
   330 S. Casino Center Boulevard
14 Las Vegas, NV 89101-6102
   Defendant in pro se
15

16          DATED this 6th day of November, 2020.
17

18                                              /s/ Isabella Lee
                                                An employee of Legal Offices of James J. Lee
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                                     CERTIFICATION OF SERVICE
